

Matter of Kellier v Ross (2022 NY Slip Op 05275)





Matter of Kellier v Ross


2022 NY Slip Op 05275


Decided on September 27, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 27, 2022

Before: Webber, J.P., Kern, Singh, Moulton, Shulman, JJ. 


Index No. 797/17 Appeal No. 16270 Case No. 2022-01799 

[*1]In the Matter of Joshua Kellier, Petitioner,
vNeil Ross, etc., et al., Respondents.


Joshua Kellier, petitioner pro se.
Letitia James, Attorney General, New York (Charles F. Sanders of counsel), for respondents.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 27, 2022








